            Case 3:25-cv-04870-CRB            Document 29        Filed 06/11/25   Page 1 of 2




     BRETT A. SHUMATE
 1
     Assistant Attorney General
 2   ERIC J. HAMILTON (CA Bar No. 296283)
     Deputy Assistant Attorney General
 3   ALEXANDER K. HAAS (CA Bar No. 220932)
     Branch Director
 4
     CHRISTOPHER EDELMAN (DC Bar No. 1033486)
 5   Senior Counsel
     GARRY D. HARTLIEB (IL Bar No. 1617521)
 6   BENJAMIN S. KURLAND (DC Bar No. 1617521
     Trial Attorneys
 7
     Civil Division, Federal Programs Branch
 8   1100 L Street, NW
     Washington, DC 20005
 9   Telephone: (202) 353-7203
10   christopher.edelman@usdoj.gov
     Counsel for Defendants
11
12                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF CALIFORNIA
13                                  SAN FRANCISCO DIVISION

14
     GAVIN NEWSOM, in his official capacity as            Case No. 3:25-cv-04867-CRB
15   Governor of the State of California, et al.,
16
             Plaintiffs,                                  STIPULATION AND PROPOSED ORDER
17                                                        TO INCREASE PAGE LIMITS
                     v.
18
19   DONALD J. TRUMP, in his official capacity as
     President of the United States of America, et al.,
20
21           Defendants.

22
23          Pursuant to Civil Local Rules 7-2, 7-3, and 7-12 and the Court’s General Standing Order,
24
     and subject to the Court’s approval, the parties stipulate as follows:
25
            The parties have conferred regarding the page limits applicable to the Government’s
26
27   Response to Plaintiffs’ Motion for a Temporary Restraining Order and Plaintiffs’ Reply in

28   support of their Motion. The Parties stipulate that the Government shall respond in no more than




                                       STIPULATION AND PROPOSED ORDER TO INCREASE PAGE LIMITS
            Case 3:25-cv-04870-CRB           Document 29        Filed 06/11/25      Page 2 of 2




     thirty (30) pages of substantive text. Plaintiffs’ shall reply in no more than twenty (20) pages of
 1
 2   substantive text.

 3          Dated:                                 Respectfully submitted,
 4
                                                   BRETT A. SHUMATE
 5                                                 Assistant Attorney General

 6                                                 ERIC J. HAMILTON (CA Bar No. 296283)
                                                   Deputy Assistant Attorney General
 7
 8                                                 ALEXANDER K. HAAS (CA Bar No. 220932)
                                                   Branch Director
 9
10                                                 _______________________________________
                                                   BENJAMIN S. KURLAND
11                                                 Trial Attorney (DC Bar No. 1617521)
                                                   CHRISTOPHER EDELMAN
12                                                 Senior Counsel (DC Bar No. 1033486)
13                                                 GARRY D. HARTLIEB
                                                   Trial Attorneys (IL Bar No. 1617521)
14                                                 Civil Division, Federal Programs Branch
                                                   1100 L Street, NW
15                                                 Washington, DC 20005
16                                                 Telephone: (202) 353-7203
                                                   christopher.edelman@usdoj.gov
17
                                                   Counsel for Defendants
18
19
                                                   ROB BONTA
20                                                 Attorney General of California
                                                   LAURA L. FAER
21                                                 Acting Senior Assistant Attorney General
                                                   JAMES E. STANLEY
22                                                 Supervising Deputy Attorneys General
23                                                 /s/ Marissa Malouff
                                                   MARISSA MALOUFF
24                                                 Supervising Deputy Attorney General
                                                   300 S. Spring St., Ste. 1702
25                                                 Los Angeles, CA 80013
                                                   Telephone: (213) 269-6467
26                                                 E-mail: Marissa.Malouff@doj.ca.gov
27                                                 Attorneys for Plaintiffs
28



                                                  -2-
                                      STIPULATION AND PROPOSED ORDER TO INCREASE PAGE LIMITS
